             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                      1:17 CV 350 MOC WCM

MARY MARTIN,                                   )
                                               )
                  Plaintiff,                   )
                                               )
      v.                                       )
                                               )
NAKISHA GARRETT, in her individual             )
capacity as employee of the North Carolina     )
Department of Public Safety; BIANCA            )
HARRIS, in her individual capacity as warden )              ORDER
of North Carolina Correctional Institution for )
Women; MS. THOMPKINS, in her individual )
capacity as an employee of the North Carolina )
Department of Public Safety; WALLY             )
WAZAN, in his individual capacity as           )
employee of the North Carolina Department      )
of Commerce,                                   )
                                               )
                  Defendants.                  )
______________________________________         )

      This matter is before the Court on a Consent Motion for Leave to Depose

Incarcerated Plaintiff (the “Motion,” Doc. 87) filed by Defendants Nakisha

Garrett, Mahogani Thompkins and Bianca Harris (hereinafter “NCDPS

Defendants”).

      NCDPS Defendants seek to take the incarcerated Plaintiff’s deposition

pursuant to Rule 30(a)(2)(B) of the Federal Rules of Civil Procedure. The

Motion will be granted, and defense counsel will be allowed to depose Plaintiff

at the institution where she is confined in a room to be designated by the



    Case 1:17-cv-00350-MOC-WCM Document 88 Filed 01/11/21 Page 1 of 2
               administrator of the institution at a date to be selected by the administrator

               and the NCDPS Defendants’ counsel. A guard may be present during the

               deposition, if directed by the institution’s administrator.

                       IT IS THEREFORE ORDERED that the Consent Motion for Leave to

               Depose Incarcerated Plaintiff (Doc. 87) is GRANTED.


Signed: January 11, 2021




                                                       2

                     Case 1:17-cv-00350-MOC-WCM Document 88 Filed 01/11/21 Page 2 of 2
